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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                          CASE NO. 1:07-cr-00014-MP-AK

CHRISTOPHER B. MATSKO,

      Defendant.
_____________________________/

                                         ORDER

       This matter is before the Court on Doc. 322, Seventh Motion to Continue Sentencing,

filed by Defendant. Defendant’s sentencing is currently scheduled for Tuesday, January 13,

2009. Defendant requests a continuance of at least 30 days in order to allow the Government

more time to complete its evaluation of Defendant’s cooperation with the Government. The

Government is unopposed to the motion. Upon consideration, it is hereby

       ORDERED AND ADJUDGED:

       1.     Defendant’s Seventh Motion to Continue Sentencing, Doc. 322, is GRANTED.

       2.     The Clerk is directed to reset the sentencing of CHRISTOPHER B. MATSKO to
              Thursday, February 19, 2009 at 1:30 p.m.

       DONE AND ORDERED this           12th day of January, 2009


                                     s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
